   Case 1:21-mi-55555-JPB Document 547-1 Filed 05/17/23 Page 1 of 15




               UNITED STATES DISTRICT COURT
               NORTHERN DISTRICT OF GEORGIA
                     ATLANTA DIVISION


IN RE GEORGIA SENATE BILL 202                         Master Case No.:
                                                      1:21-MI-55555-
                                                      JPB

THE NEW GEORGIA PROJECT, et al.,

                      Plaintiffs,                     Civil Action No.:
                v.                                    1:21-cv-01229-
                                                      JPB
BRAD RAFFENSPERGER, in his official capacity
as the Georgia Secretary of State, et al.,

                      Defendants,

REPUBLICAN NATIONAL COMMITTEE, et al.,

                      Intervenor-Defendants.

NGP PLAINTIFFS’ BRIEF IN SUPPORT OF PLAINTIFFS’ RENEWED
         MOTION FOR PRELIMINARY INJUNCTION
         Case 1:21-mi-55555-JPB Document 547-1 Filed 05/17/23 Page 2 of 15




                                             Table of Contents


INTRODUCTION....................................................................................................1
BACKGROUND ......................................................................................................3
ARGUMENT ............................................................................................................4
 I.  Plaintiffs are likely to succeed on the merits of their claim. ......................4
  II.        The remaining factors weigh heavily in Plaintiffs’ favor. .........................8
  III.       Purcell does not weigh against granting the preliminary injunction. ........9
CONCLUSION.......................................................................................................10




                                                          i
        Case 1:21-mi-55555-JPB Document 547-1 Filed 05/17/23 Page 3 of 15




                                     TABLE OF AUTHORITIES

                                                                                                           Page(s)

Cases
Anderson v. Spear,
  356 F.3d 651 (6th Cir. 2004) ................................................................................ 6
First Nat’l Bank of Bos. v. Bellotti,
   435 U.S. 765 (1978) ..............................................................................................7
Ne. Fla. Chapter of Ass’n of Gen. Contractors of Am. v. City of
   Jacksonville,
   896 F.2d 1283 (11th Cir. 1990) ............................................................................9

Purcell v. Gonzalez,
  549 U.S. 1 (2006) ..................................................................................................2

Riley v. Nat’l Fed’n of the Blind of N.C., Inc.,
   487 U.S. 781 (1988) ..............................................................................................7
Russell v. Lundergan-Grimes,
  784 F.3d 1037 (6th Cir. 2015) ..........................................................................6, 7
White v. Baker,
  696 F. Supp. 2d 1289 (N.D. Ga. 2010) ................................................................. 9

Statutes

O.C.G.A. § 15-18-66(a) .............................................................................................8
O.C.G.A. § 21-2-414..................................................................................................5
O.C.G.A. § 21-2-414(a) .............................................................................................6

O.C.G.A. § 21-2-567..................................................................................................6

O.C.G.A. § 21-2-570..................................................................................................6



                                                          ii
      Case 1:21-mi-55555-JPB Document 547-1 Filed 05/17/23 Page 4 of 15




                                INTRODUCTION

      Last summer, this Court concluded that Plaintiffs had “established each of the

preliminary injunction factors” as to Georgia Senate Bill (“S.B.”) 202’s Food and

Water Ban (the “Ban”), as it pertains to any individuals providing food or drink

within 25 feet of any voter in line (the “Supplemental Zone”). See August 18 Order

on Prelim. Inj. (“Order”) at 74, ECF No. 241. The Court noted that the Supplemental

Zone had “no limit” and could thus extend “thousands of feet away from the polling

station (and across private property).” Id. at 55. As a result, the Ban in the

Supplemental Zone was substantially likely to be unconstitutional because it

constituted an “impermissible burden” on Plaintiffs’ constitutional right to free

speech. Id. at 55–56. The Court also found that Plaintiffs had demonstrated

irreparable harm because the threat of prosecution of line relief activities in the

Supplemental Zone had deterred Plaintiffs and other organizations from engaging in

such behavior. Id. at 59. Because such an infringement upon Plaintiffs’ First

Amendment rights constitutes a “serious and substantial injury” and the government

“has no legitimate interest in enforcing an unconstitutional [statute],” id. at 61

(quoting KH Outdoor, LLC v. City of Trussville, 458 F.3d 1261, 1272 (11th Cir.

2006)), the Court concluded that Plaintiffs had shown the balance of equities and

public interest weighed in their favor.
      Case 1:21-mi-55555-JPB Document 547-1 Filed 05/17/23 Page 5 of 15




      Despite finding that all of the preliminary injunction factors weighed in

Plaintiffs’ favor, the Court ultimately did not enjoin the Food and Water Ban in the

Supplemental Zone. At the time the Court issued its ruling, the general election was

less than three months away and a primary for that election had already been held.

As a result, the Court concluded that an injunction might cause voter confusion and

burden on election administrators, and therefore denied relief under Purcell v.

Gonzalez, 549 U.S. 1 (2006). See Order at 72.

      As the AME and GA NAACP Plaintiffs explain in their renewed motion,

which the NGP Plaintiffs join and incorporate here, fact discovery is now over, and

the merits of Plaintiffs’ challenges to the Food and Water Ban in the Supplemental

Zone are only stronger. See generally AME Renewed Motion (“AME Br.”), ECF

No. 535-1. This is especially so with regard to the NGP Plaintiffs’ claim, which

seeks relief from Defendants Keith Gammage, the Solicitor General (“SG”) of

Fulton County, and Gregory W. Edwards, the District Attorney (“DA”) for

Dougherty County (collectively, the “County Prosecutors”). Deposition testimony

from these two individuals demonstrates that the Food and Water Ban does not

address the State’s concern about maintaining a restricted zone around voters. The

County Prosecutors also explicitly fail to disclaim their intent to enforce the Food

and Water Ban, thus confirming Plaintiffs’ legitimate concern about the threat of


                                         2
      Case 1:21-mi-55555-JPB Document 547-1 Filed 05/17/23 Page 6 of 15




prosecution for line relief activities in Fulton and Dougherty Counties. And

importantly, the Purcell considerations that led to the Court’s denial of relief are no

longer implicated, as the next statewide election in Georgia is no less than nine

months away.

      For these reasons, NGP Plaintiffs renew their Motion for Preliminary

Injunction to enjoin the Food and Water Ban in the Supplemental Zone against the

County Prosecutors. Because the Court has already found that Plaintiffs have

demonstrated the merits of their claim for injunctive relief as to that Zone, and

equitable considerations about confusion and administration of criminal penalties

are not implicated, especially months before the next statewide election, the Court

should enjoin the County Prosecutors from enforcing the Food and Water Ban in the

Supplemental Zone.1

                                 BACKGROUND

      NGP Plaintiffs incorporate by reference the factual evidence and briefing

from their initial preliminary injunction motion, see NGP Prelim. Inj., ECF Nos.

185, 185-1–8; NGP Prelim. Inj. Reply, ECF No. 217; see also AME Br. at 3. NGP

Plaintiffs address relevant new evidence obtained during discovery below.


1
  NGP Plaintiffs maintain the portion of their First Amendment claim as to the zone
within 150 feet of the polling place entrance, but do not renew this part of the claim
in this motion.

                                          3
      Case 1:21-mi-55555-JPB Document 547-1 Filed 05/17/23 Page 7 of 15




                                  ARGUMENT

I.    Plaintiffs are likely to succeed on the merits of their claim.

      As the Court has already concluded, Plaintiffs are likely to prevail on their

claim that the Food and Water Ban in the Supplemental Zone violates Plaintiffs’

constitutional rights. To avoid repetition and for the Court’s convenience, NGP

Plaintiffs join and incorporate the AME and GA NAACP Plaintiffs’ arguments in

their renewed motion, and emphasize several pieces of additional evidence obtained

in discovery from the County Prosecutors that further demonstrate the

unconstitutionality of the Ban. See AME Br. at 4–10.

      The Food and Water Ban in the Supplemental Zone is indeed “unreasonable,”

Order at 56, because it does not serve the State’s proffered interests of “restoring

peace and order around the polls; protecting voters from political pressure and

intimidation; and supporting election integrity.” Id. at 51–52. As both County

Prosecutors have admitted, Georgia law, including the Food and Water Ban, does

not actually prohibit anyone from approaching a voter in line, or engaging a voter in

conversation while they stand in line, as long as that individual is not engaged in

behavior otherwise prohibited by law, such as electioneering or intimidation. See

Edwards Tr. (Ex. 1), 59:14-21 (agreeing that a person wearing an unmarked shirt

and not carrying any food or gifts could walk into the 150-foot “Buffer Zone” or


                                         4
      Case 1:21-mi-55555-JPB Document 547-1 Filed 05/17/23 Page 8 of 15




Supplemental Zone and freely have a conversation with a voter); 61:12-62:4

(agreeing that a person not engaged in any conduct prohibited by O.C.G.A. § 21-2-

414 could still approach a voter in either Zone); see also Gammage Tr. (Ex. 2),

65:22-66:9 (stating it was not a violation of any law for someone to approach a voter

in line as long as they were not engaging in any conduct identified in O.C.G.A. § 21-

2-414).2 So, even if the State’s purported concerns about sharing food and drink in

the Supplemental Zone were justified, voters are no more insulated from any

hypothetical disruption, intimidation, and improper influence from others that can

legally and freely approach any voter waiting in line to vote. See Order at 52–53. In

other words, the Ban does not actually address the risk that individuals can approach

and interact with voters in line. The Ban also does not address the risk that those

conversations or interactions could lead to behavior aimed at influencing a voter’s

decision at the ballot box—it simply prevents people from sharing food and water

with voters in long lines.

      Nor does the Ban insulate voters from any behavior that was not previously

unlawful. It is already a crime in Georgia to “solicit votes in any manner or by any


2
  The State Election Board has also testified as much. During its 30(b)(6) deposition,
the Board agreed that nothing in SB 202 prohibits individuals from approaching
voters in line and interacting with them, as long as they are not campaigning, being
disruptive, or offering anything to voters. See SEB 30(b)(6) Tr. (Ex. 3), 250:21-
251:2.

                                          5
      Case 1:21-mi-55555-JPB Document 547-1 Filed 05/17/23 Page 9 of 15




means or method,” and to “distribute or display any campaign material” in an effort

to influence a voter. O.C.G.A. § 21-2-414(a). Before SB 202, Georgia law already

prohibited giving or offering to give “money or gifts for the purpose of . . . voting.”

Id. § 21-2-570. And Georgia law broadly prohibits the intimidation of voters. Id.

§ 21-2-567. Contrary to the State Defendants’ claims, the Ban does not create a

restricted zone where individuals cannot solicit votes, engage in electioneering, or

bribe or intimidate voters—that zone was already in place because of laws that

predate SB 202.

      Finally, as the AME and GA NAACP Plaintiffs have explained, the State has

failed to articulate why there is any need to create a Supplemental Zone that extends

prohibitions on protected speech—with no limit—even further beyond the existing

Buffer Zone. See AME Br. at 8–10. As this Court has already recognized, the

existing Buffer Zone is already larger than any zone found to be constitutional by

the Supreme Court. See Order at 53. And because a “buffer zone runs in all directions

from [a] building,” any extension beyond the 100-foot zone in Burson has a

magnified area of coverage. See Anderson v. Spear, 356 F.3d 651, 661 (6th Cir.

2004) (finding that a 500-foot buffer zone covered an area 25 times larger than the

area at issue in Burson); Russell v. Lundergan-Grimes, 784 F.3d 1037, 1053–54 (6th

Cir. 2015) (finding that a 300-foot buffer zone covered an area nine times larger than


                                          6
     Case 1:21-mi-55555-JPB Document 547-1 Filed 05/17/23 Page 10 of 15




the area at issue in Burson). Not only is the Buffer Zone already more than two times

larger than the area at issue in Burson, but the addition of an unlimited Supplemental

Zone—on top of an already enlarged Buffer Zone—“impairs a substantial amount

of speech beyond what is required to achieve acceptable objectives.” Russell, 784

F.3d at 1054.3 For these reasons, the Food and Water Ban in the Supplemental Zone

is overbroad and “must be invalidated.” Id. (quoting Citizens United v. FEC, 558

U.S. 310, 336 (2010)); id. at 1054–55 (finding Kentucky’s 300-foot buffer zone

unconstitutional where the State failed to present evidence justifying a zone nine

times larger than the zone in Burson).

      Because Georgia law already provides clear enforcement mechanisms against

improper electioneering, bribery, and intimidation at the polls, but prohibits

Plaintiffs from engaging in expressive conduct, like sharing food and water, and is

far greater than is necessary, the Food and Water Ban in the Supplemental Zone is a

“prophylactic, imprecise, and unduly burdensome” rule that is “suspect” and not

permitted “in the area of free expression.” Riley v. Nat’l Fed’n of the Blind of N.C.,

Inc., 487 U.S. 781, 800–01 (1988) (citation omitted); see also First Nat’l Bank of

Bos. v. Bellotti, 435 U.S. 765, 794 (1978) (holding that a regulation that is


3
 The zone approved by the Supreme Court in Burson covers an area of 1002π, or
31,415 square feet, and the Buffer Zone under Georgia law covers an area of 1502π,
or 70,650 square feet, which is more than twice the area of the zone in Burson.

                                          7
      Case 1:21-mi-55555-JPB Document 547-1 Filed 05/17/23 Page 11 of 15




overinclusive is not narrowly tailored to its goal). Thus, the Food and Water Ban in

the Supplemental Zone violates the First Amendment, and the County Prosecutors

should be enjoined from enforcing it.

II.   The remaining factors weigh heavily in Plaintiffs’ favor.

      The Court has already correctly concluded that without an injunction of the

Food and Water Ban in the Supplemental Zone, Plaintiffs will suffer irreparable

harm because the undeniable, ongoing risk of criminal enforcement against line

relief activities deters protected speech. Order at 58–59; see generally Honor Decl.

(Ex. 4), Hector Decl. (Ex. 5), Johnson Decl. (Ex. 6), Durbin Decl. (Ex. 7); see also

AME Br. at 10–11. Evidence obtained in discovery only further supports the Court’s

conclusion because the County Prosecutors have now acknowledged that it is their

duty to enforce the Food and Water Ban and refused to disclaim any intent to enforce

the Ban in the future. See Edwards Tr. 43:15-22; 50:19-51:3; see also O.C.G.A. § 15-

18-66(a) (delineating authority of prosecuting attorneys to bring criminal cases in

Georgia). DA Edwards also confirmed that there is no official or entity that could

prevent him from bringing a prosecution under his authority. Edwards Tr. 46:16-25

(speaking generally about all laws); 51:15-19 (speaking specifically about the Food

and Water Ban); see also Gammage Tr. 61:7-21 (“I cannot categorically state that

I’ll never bring a prosecution for the offenses contained in the [Food and Water]


                                         8
       Case 1:21-mi-55555-JPB Document 547-1 Filed 05/17/23 Page 12 of 15




statute in which we speak.”).

       This record makes clear that NGP Plaintiffs face the threat of criminal

prosecution if they engage in line relief activities in the Supplemental Zone. See also

NGP Reply at 14, ECF No. 217; Exs. 4–7. Because this threat chills their speech,

Plaintiffs continue to experience irreparable injury. See Ne. Fla. Chapter of Ass’n of

Gen. Contractors of Am. v. City of Jacksonville, 896 F.2d 1283, 1285-86 (11th Cir.

1990) (ongoing First Amendment violation is irreparable injury); White v. Baker,

696 F. Supp. 2d 1289, 1312–13 (N.D. Ga. 2010) (“Plaintiffs that show a chilling

effect on free expression have demonstrated an irreparable injury.”). Thus, the

irreparable harm factor for preliminary injunctive relief continues to weigh in

Plaintiffs’ favor.

       And because an “infringement of First Amendment rights balances the

equities in Plaintiffs’ favor, and neither Defendants nor the public have a legitimate

interest in enforcing an unconstitutional statute[,] . . . Plaintiffs have satisfied their

burden as to the third and fourth prongs of the preliminary injunction test.” Order at

61.

III.   Purcell does not weigh against granting the preliminary injunction.

       The Purcell doctrine is no barrier to relief here. As the AME and GA NAACP

Plaintiffs correctly point out, the next statewide primary will be no sooner than nine


                                            9
     Case 1:21-mi-55555-JPB Document 547-1 Filed 05/17/23 Page 13 of 15




months from now, and the next statewide general election is even farther away. See

AME Br. at 1, 12. Even the presidential preference primary is not scheduled to

conclude sooner than mid-March 2024. There is ample time for any relief to be

implemented in advance of the 2024 elections. And enjoining the County

Prosecutors’ enforcement of the Food and Water Ban in the Supplemental Zone at

this stage is even further removed from the concerns that animate the Purcell

doctrine. See NGP Prelim. Injun. at 18–20; NGP Prelim. Inj. Reply at 2–4.

                                CONCLUSION

      For these reasons, NGP Plaintiffs’ Renewed Motion for Preliminary

Injunction should be granted.




                                       10
     Case 1:21-mi-55555-JPB Document 547-1 Filed 05/17/23 Page 14 of 15




Respectfully submitted this 17th day of May, 2023,


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                                       11
      Case 1:21-mi-55555-JPB Document 547-1 Filed 05/17/23 Page 15 of 15




                       CERTIFICATE OF COMPLIANCE

      I hereby certify that the foregoing document has been prepared in accordance

with the font type and margin requirements of L.R. 5.1, using font type of Times

New Roman and a point size of 14.



Dated: May 17, 2023                                   /s/ Uzoma N. Nkwonta
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                          CERTIFICATE OF SERVICE

      I hereby certify that on May 17, 2023, I electronically filed this document with

the Clerk of Court using the CM/ECF system which will automatically send email

notification of such filing to the attorneys of record.


Dated: May 17, 2023                                   /s/ Uzoma N. Nkwonta
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